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UNITED STATES DISTRICT COURT                                                           SOUTHERN DISTRICT OF TEXAS


                   Motion and Order for Admission Pro Hac Vice

      Division          Houston                                           Case Number                                    4:23-cv-00463
                                        In re Free Speech Systems, Debtor.
                                                     ------------
                             W. Marc Schwartz and Schwartz Associates, LLC, Appellants,

                                                           versus
                                  United States Trustee et al., Appellees.


                                          Frederick Gaston Hall
           Lawyer’s Name                  Trial Attorney
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      Licensed: State & Number            Also admitted: Supreme Court of the United States; United States Courts of Appeals for the Second, Third, and Eleventh
                                          Circuits
       Federal Bar & Number


 Name of party applicant seeks to                                    United States Trustee, Appellee
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:       3/17/2023         Signed:                                         /s/ Frederick G. Hall



 The state bar reports that the applicant’s status is:


 Dated:                         Clerk’s signature



               Order
                                                          This lawyer is admitted pro hac vice.

Dated:
                                                                        United States District Judge
